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Unlted States Distrlct Court §§ ~-e’;f .C_,
WESTERN DISTRICT oF TENNESSEE 41 * va
Eastern Division /"

.]UDGMENT IN A CIVIL CASE

DENNIS ANDERSON,
v.
JO ANNE B. BARNHART CASE NUMBER: 1:04-1120-`|'
Commissioner of Social Security
Decision by Court. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that in compliance with the order entered in the

above-styled matter on 7/21/2005, the Cornrnissioner’s decision is hereby AFFIRMED and this
case is hereby DISMISSED.

APPROVED:

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JA s D. T'or)D

 

 

 

ED STATES DISTRICT JUDGE
THOMAS M. GOULD
CLERK
7/3;~)]@5 BY: @M
DATE f ’ DEPUTY CL-ERK

This document entered on the docketsheet in compliance

with Rule 58 and/or 79(3) FRcP on 7 l c_;€ §§ 1 § 25 \B\

   

UNITED sTTEAS DISTRIC COUR - WTERN D'S'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 24 in
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Honorable J ames Todd
US DISTRICT COURT

